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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENVILLE DIVISION

Timothy Tangen,
                 Plaintiff,

        v.
                                                          C/A No.: 6:21-cv-00335-JD
Fluor Intercontinental, Inc., et al.,
                 Defendants.



Marissa Brown,
                 Plaintiff,

        v.                                                C/A No.: 6:21-cv-01427-JD

Fluor Intercontinental, Inc., et al.,
                 Defendants.


Shelby Iubelt, individually, on behalf of the
Estate of Tyler Iubelt, and as next friend of
V.I., minor,
                                                          C/A No.: 6:21-cv-01420-JD
                 Plaintiff,

        v.

Fluor Intercontinental, Inc., et al.,
                 Defendants.


Lakeia Stokes,
                 Plaintiff,

        v.                                                C/A No.: 6:21-cv-01086-JD

Fluor Intercontinental, Inc., et al.,
                 Defendants.



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Maggie Bilyeu,
                Plaintiff,

        v.
                                                          C/A No.: 6:21-cv-01078-JD
Fluor Intercontinental, Inc., et al.,
                Defendants.


Addie Ford,
                Plaintiff,

        v.                                                C/A No.: 6:21-cv-01159-JD

Fluor Intercontinental, Inc., et al.,
                Defendants.


Marvin Branch,
                Plaintiff,
                                                          C/A No.: 6:21-cv-01083-JD
        v.

Fluor Intercontinental, Inc., et al.,
                Defendants.


Julianne Perry, individually, on behalf of the
Estate of John Perry, and as next friend of L.P.
and G.P., minors,
                Plaintiff,                                C/A No.: 6:21-cv-01250-JD

        v.

Fluor Intercontinental, Inc., et al.,
                Defendants.
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Haylee Rodriguez,
                 Plaintiff,
                                                          C/A No.: 6:21-cv-01084-JD
        v.

Fluor Intercontinental, Inc., et al.,
                 Defendants.


India Sellers,
                 Plaintiff,

        v.                                                C/A No.: 6:21-cv-01085-JD

Fluor Intercontinental, Inc., et al.,

                 Defendants.

Samuel Gabara,
                 Plaintiff,

        v.                                                C/A No.: 6:21-cv-01007-JD

Fluor Intercontinental, Inc., et al.,

                 Defendants.


Chris Colavita,
                 Plaintiff,

        v.
                                                          C/A No.: 6:21-cv-01017-JD
Fluor Intercontinental, Inc., et al.,
                 Defendants.
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 Robert Healy,
                 Plaintiff,
                                                              C/A No.: 6:21-cv-01018-JD
         v.
                                                               DEFENDANTS FLUOR
 Fluor Intercontinental, Inc., et al.,                   INTERCONTINENTAL, INC. AND
                                                          FLUOR GOVERNMENT GROUP
                 Defendants.
                                                          INTERNATIONAL, INC.’S RULE
                                                        12(b)(6) MOTION TO DISMISS THE
                                                        PLAINTIFFS’ CLAIMS BASED ON
                                                          COLLATERAL ESTOPPEL AND
                                                            STATUTE OF LIMITATIONS




        Defendants Fluor Intercontinental, Inc. and Fluor Government Group International, Inc.

(collectively, “Fluor”), by and through their undersigned counsel and pursuant to Federal Rule of

Civil Procedure 12(b)(6), hereby move this Court for an order granting their motion to dismiss the

Complaints (“Motion”) against Plaintiffs Maggie Bilyeu, Marvin Branch, Marissa Brown, Chris

Colovita, Addie Ford, Samuel Gabara, Robert Healy, Shelby Iubelt, Julianne Perry, Haylee

Rodriguez, India Sellers, and Lakeia Stokes (“Plaintiffs”). This Motion is made on the grounds

that Plaintiffs’ Complaints fail to state a claim upon which relief can be granted and should be

dismissed because: (i) Plaintiffs filed identical litigation in the Northern District of Texas, where

their claims were dismissed after a full and fair opportunity to litigate, and Plaintiffs are thus

collaterally estopped from re-litigating identical claims here; (ii) the claims of the Plaintiffs

Marissa Brown, Shelby Iubelt, and Julianne Perry are time-barred by the statute of limitations.

This Motion is supported by the applicable law, the pleadings in this action, and the memorandum

filed in support and served herewith.
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                         [SIGNATURE PAGE FOLLOWS]

                           Respectfully submitted,


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                                         Fluor Government Group International, Inc.
July 30, 2021
Greenville, South Carolina
